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UNITED STATES DISTRICT COURT . Form 1
WESTERN DISTRICT OF NEW YORK

 

 

 

 

 

 

WALTER BUCKINGHAM .
Plaintiff,
v. NOTICE OF APPEAL
LEWIS GENERAL TIRES, INC., _, 6:13 -CV-_ 06264
Defendant(s).
Notice is hereby given that Walter Buckingham [print your name],
Plaintiff [identify yourself as plaintiff or defendant in the district court action]

in the above-named case, hereby appeals to the United States Court of Appeals for the Second

Circuit from XX all part [check one] of the decision of this Court entered on

March27 (2019 .

 

[Complete the next section only if you are not appealing the whole order.] 1am appealing

from the part of the order which

 

 

 

 

; y , “2 ,
Dated: April 15 , 2019 oe» C/ Dirk Linglas “2

Signature

Walter Buckingham
Print Your Name
Appearing Pro Se

Address: 16 Elk Street

Rochester New York

Telephone: (585) 254-7917

 

 
